RAY MORRIS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Morris v. CommissionerDocket No. 24010.United States Board of Tax Appeals15 B.T.A. 1252; 1929 BTA LEXIS 2696; April 4, 1929, Promulgated *2696  Petitioner, having filed a joint return of income for himself and wife for the calendar year 1922, is not entitled to have his tax computed on the basis of a separate return.  Sanford Robinson, Esq., for the petitioner.  W. Frank Gibbs, Esq., for the respondent.  MORRIS*1252  This proceeding is for the redetermination of the deficiency in income tax for the year 1922, of $1,983.07, of which petitioner admits liability to the extent of $911.60, leaving in controversy, $1,071.47.  The only question involved is whether the petitioner and his wife, having filed a joint return for the year 1922, may have their income for that year computed upon the basis of separate returns subsequently submitted.  FINDINGS OF FACT.  The petitioner is a citizen of the United States and a resident of the City of New York.  On March 15, 1923, the petitioner filed his income-tax return for the calendar year 1922 and in his answer to question in paragraph 3 of the return, "Is this a joint return of husband and wife?," answered "Yes." In this return the claimed net loss of the wife, amounting to $711.64, was taken as a deduction against the ordinary net income of*2697  the petitioner.  When this return was examined in the field, the revenue agent analyzed the net loss of the wife, amounting to $711.64, into a capital net loss amounting to $3,829.73, and ordinary net income amounting to $3,118.09.  He offset the wife's loss of $3,829.73 from the sale of securities held more than two years against the petitioner's capital gains and added the $3,118.09 to the petitioner's ordinary net income, thereby subjecting this amount to surtaxes in the top brackets and increasing the tax $1,071.47 over and above what it would be if the wife's net loss of $711.64 had not been included in the return.  The revenue agent's action was approved by the respondent.  On or about May 17, 1926, the petitioner and his wife requested leave to file separate amended returns for the calendar year 1922, which leave was denied by the Commissioner.  OPINION.  MORRIS: We have heretofore held that in a case where a taxpayer has filed a single joint return of the income of himself and wife *1253  under the provisions of section 223(b)(2) of the Revenue Act of 1921, he may not thereafter have his tax computed on the basis of his separate income.  *2698 ; ; affd., ; ; ; ; ; see, also, . Judgment will be entered for the respondent.